         Case 5:17-cv-00220-LHK Document 1028 Filed 12/21/18 Page 1 of 2



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10
     Attorneys for Third-Party
11   TEXAS INSTRUMENTS INCORPORATED

12

13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15

16    Federal Trade Commission                   Case No. 17-cv-00220-LHK

17                  Plaintiff,                   THIRD-PARTY TEXAS INSTRUMENTS
                                                 INCORPORATED NOTICE OF
18           v.                                  APPEARANCE

19    Qualcomm Incorporated                      Courtroom: 8, 4th Floor
                                                 Hon. Lucy Koh
20                  Defendant.

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                                        NOTICE OF APPEARANCE
                                       CASE NO. 5:17- CV-00220-LHK
         Case 5:17-cv-00220-LHK Document 1028 Filed 12/21/18 Page 2 of 2



 1          PLEASE TAKE NOTICE that Kathi Vidal, of Winston & Strawn, LLP, 275 Middlefield Rd.,
 2   Suite 205, Menlo Park, CA 94025, hereby filed this Notice of Appearance in the above-referenced
 3
     action as counsel for third-party Texas Instruments Incorporated.
 4

 5   Dated: December 21, 2018                        Respectfully submitted,
 6
                                                     Winston & Strawn, LLP
 7

 8                                                   By: /s/ Kathi Vidal
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10                                                   Attorney for Third-Party
                                                     TEXAS INSTRUMENTS INCORPORATED
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